                      Case 1:23-cv-00745-DII Document 9-2 Filed 08/31/23 Page 1 of 5




                                            LEGAL SERVICES AGREEMENT

Legal Services

The Litigation Practice Group PC (“LPG”) will provide debt validation services wherein it will assist you in removing erroneous
or inaccurate information appearing on one or more of your credit reports by contesting debts appearing therein. This service is
limited to information reported by creditors or purported creditors to credit bureaus. The purpose of this program is to challenge
the legal validity of debts appearing on or being reported to credit bureaus. The cost of legal services rendered by LPG is set
forth below, and those fees are earned by LPG for services rendered to you as set forth herein at the time such fees are paid.

Client Authorization

You authorize LPG to challenge, where applicable, any debts appearing in your credit report(s) that you believe to be in any
way invalid, inaccurate, or otherwise without legal basis. You also authorize LPG to obtain a copy of your credit report to assist
in the process of analyzing your account and developing a strategy regarding the invalidation of debts that are excessive or
otherwise unauthorized by law. You further authorize LPG, acting under power of attorney for you, to affix your signature to
documents sent on your behalf in relation to the matters addressed herein.

Description of Services to be Performed

LPG will obtain your credit reports, analyze them, and develop strategies for correcting invalid or unlawful debts for which you
should not be held legally responsible. Where appropriate, LPG will use existing laws and interact with creditors and credit
bureaus on your behalf to invalidate your debts and remove such invalid debts from your credit reports. LPG will also interact
with collection agencies, as applicable, to invalidate your debts by requiring them to supply evidence of your indebtedness to
them, or any other legal mechanism. LPG will also consult with you regarding all aspects of the credit reporting process,
including all laws applicable to the same. LPG will also investigate your delinquent accounts in order to determine the most
effective method for invalidating your debts or otherwise removing any legal liability for such debts, up to and including the
initiation of lawsuits on your behalf against your creditors and their third party debt collectors.

In addition, if a lawsuit is filed against you, LPG will represent you in such lawsuit and will not charge any additional fees for
such representation provided such lawsuit was initiated after the date you sign this Agreement. In the event a lawsuit was
initiated against you before the date you execute this Agreement and you elect to have LPG represent you, an additional fee of
$500.00 will be charged. Where appropriate, if legal fees are recovered from an adverse party, LPG will retain such fees for its
services. You will be responsible to pay any damages resulting from any lawsuit. Any costs incurred in a lawsuit will be paid by
LPG out of the fees set forth below, including the fees of any attorney retained on your behalf in a jurisdiction in which LPG is
not admitted to practice law. No additional payment from you to LPG will be necessary for the defense of any lawsuit filed
against you after the date you execute this Agreement. You will, however, be responsible to pay any damages resulting from
such lawsuits or any settlements reached in the course of such lawsuits.

Fees

You will pay the following fees for the legal services provided by LPG. No fee or other cost will be charged or collected other
than the following. This is the only amount you have to pay for LPG’s services, and this fee is fixed, such that it is earned the
moment it is transmitted to LPG. Upon request, LPG will provide an update of progress of services performed under this
agreement at reasonable intervals of no greater frequency than once a month.
   Page 1 of 7


                                                                                    ID: 2424729 Signed: 2020-07-01T19:45:15-05:00
                      Case 1:23-cv-00745-DII Document 9-2 Filed 08/31/23 Page 2 of 5


Refund Policy

If an account is fully validated by a creditor, such that no further dispute to the validity of the account could be made, you will
receive a full refund of the fees that you paid towards the invalidation of that account (i.e., you will be refunded the fees paid in
proportion to the debt that was validated). Should you have an outstanding balance with LPG at the time your refund is issued
on the validated account, any refund will first be applied towards the outstanding balance. A client can elect to move to a debt
settlement service on any validated account in lieu of obtaining a refund. If a client makes such an election, fees will no longer be
collected for such account and debt settlement services will be performed for no additional fees.

Debt Settlement

If LPG is unable to invalidate any debt, you may elect to have LPG negotiate a settlement on your behalf with the concerned
creditor without any additional fees being charged to or incurred by you for such service. Any settlement reached with any such
creditor shall be your responsibility. At the point that you reach a settlement with such creditor, your payment to LPG will be
reduced and re-amortized to adjust for the settled account being removed from the representation herein contemplated. Please
see the refund policy above for more details.

Actions Required of You

You agree to provide LPG with any and all correspondence you receive from any creditor, credit bureau, attorney, or court of
law. You further agree to keep a log of all communications, including telephonic and electronic communications, from any
creditor or credit reporting agency.

Right to Conduct Business Electronically and Contact You

You agree that LPG may contact you electronically and telephonically, and that any and all business with LPG may be
conducted electronically. You further agree that LPG may transmit data, including that regarding your credit profile,
electronically. You further agree that any electronic communication carries the risk of disclosure to a third party, and that LPG
will not be held responsible for any such inadvertent disclosure of information. A facsimile or email transmission of this signed
agreement, via an email attachment or otherwise, will be as valid as the original. This agreement may not be modified except in
writing by both parties.

Client Acknowledgements

By signing this agreement, you acknowledge that LPG has not instructed you to breach any contract, fail to make any required
payment, or fail to perform any obligation you have lawfully incurred. LPG reserves the right to terminate this agreement if (a)
client fails to make timely payment of the amount due under hereunder or (b) client`s payments are returned multiple times for
any reason. LPG will not pay your debts, and does not guarantee that any debt you now have or may incur will be invalidated or
settled in association with LPG’s services. You understand and agree that you must forward any communication you receive in
printed or electronic form from any creditor, court, or representative of other a creditor or a court to
admin@coastprocessing.com, and that you must keep a log of all telephonic communications with any creditor or credit
reporting agency. Do not sign this agreement until you have received and read the information statements and notices
of cancellation required by state and federal law, even if otherwise advised. By signing this agreement, you
acknowledge receipt of these disclosures prior to the time of signing and agree to the terms of this agreement. You,
the client, may cancel this agreement at any time before midnight CST of the 5th day after the date of execution of
this agreement via an email to admin@coastprocessing.com. In addition, you, the client may terminate LPG’s
services under this agreement at any time via an email to admin@coastprocessing.com.

Client Signature:
Co-Applicant Signature
                                 Elijah Walker                                               Date: 7/1/2020
                                                                                             Date:

   Page 2 of 7


                                                                                      ID: 2424729 Signed: 2020-07-01T19:45:15-05:00
Case 1:23-cv-00745-DII Document 9-2 Filed 08/31/23 Page 3 of 5
Case 1:23-cv-00745-DII Document 9-2 Filed 08/31/23 Page 4 of 5
                       Case 1:23-cv-00745-DII Document 9-2 Filed 08/31/23 Page 5 of 5


                                                       Schedule of Payments

I agree to this payment schedule – Client Initials:   EW
Payment #                                    Process Date                               Amount
1                                            Jul 15, 2020                               $300.38
2                                            Aug 17, 2020                               $303.67
3                                            Sep 15, 2020                               $303.67
4                                            Oct 15, 2020                               $303.67
5                                            Nov 16, 2020                               $303.67
6                                            Dec 15, 2020                               $303.67
7                                            Jan 15, 2021                               $303.67
8                                            Feb 16, 2021                               $303.67
9                                            Mar 15, 2021                               $303.67
10                                           Apr 15, 2021                               $303.67
11                                           May 17, 2021                               $303.67
12                                           Jun 15, 2021                               $303.67
13                                           Jul 15, 2021                               $303.67
14                                           Aug 16, 2021                               $303.67
15                                           Sep 15, 2021                               $303.67
16                                           Oct 15, 2021                               $303.67
17                                           Nov 15, 2021                               $303.67
18                                           Dec 15, 2021                               $303.67
19                                           Jan 18, 2022                               $303.67
20                                           Feb 15, 2022                               $303.67
21                                           Mar 15, 2022                               $303.67
22                                           Apr 15, 2022                               $303.67
23                                           May 16, 2022                               $303.67
24                                           Jun 15, 2022                               $303.67
25                                           Jul 15, 2022                               $303.67
26                                           Aug 15, 2022                               $303.67
27                                           Sep 15, 2022                               $303.67
28                                           Oct 17, 2022                               $303.67
29                                           Nov 15, 2022                               $303.77
30                                           Dec 15, 2022                               $0.00




     Page 5 of 7


                                                                              ID: 2424729 Signed: 2020-07-01T19:45:15-05:00
